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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                            )
                                                     )       4:05CR3029-2
                              Plaintiff,             )
                                                     )
               v.                                    )
                                                     )
BOBBIE D. DORMAN,                                    )       ORDER
                                                     )
                              Defendant.             )
                                                     )

        The government has moved to dismiss Count I of the Information as it pertains to Bobbie D.
Dorman, filing #58. Accordingly, said Count I of the Information as it pertains to Bobbie D. Dorman
only is dismissed.

       IT IS SO ORDERED this 12th day of August, 2005.

                                             BY THE COURT


                                             s/David L. Piester
                                             David L. Piester
                                             United States Magistrate Judge
